      Case 2:11-cr-02131-EFS      ECF No. 180    filed 12/02/21   PageID.630 Page 1 of 4




 1                                                                               FILED IN THE
                                                                             U.S. DISTRICT COURT
                                                                       EASTERN DISTRICT OF WASHINGTON

 2
                                                                       Dec 02, 2021
 3                                                                          SEAN F. MCAVOY, CLERK




 4

 5                         UNITED STATES DISTRICT COURT

 6                       EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                        No. 2:11-CR-02131-EFS-1

 8                       Plaintiff,                   ORDER DENYING MOTION TO
                                                      REOPEN DETENTION HEARING
 9   vs.
                                                      ECF No. 173
10   JUAN JOSE NUNEZ,

11                       Defendant.

12         On November 29, 2021, the Court conducted a hearing on Defendant’s

13   Motion for Reconsideration, ECF No. 173, which the Court construes as Motion to

14   Reopen Detention. Defendant was represented by Bevan Maxey. Assistant United

15   States Attorney Patrick Cashman represented the United States.

16         Defendant previously waived his right to a detention hearing. ECF No. 165.

17   The Court therefore treats the matter as an initial detention determination in this

18   supervised release matter.

19         “[Federal Rule of Criminal Procedure] 32.1(a)(6) governs release pending a

20   hearing on a violation of probation or supervised release.” Fed. R. Crim. P. 46(d).



     ORDER DENYING MOTION TO REOPEN DETENTION HEARING - 1
      Case 2:11-cr-02131-EFS     ECF No. 180    filed 12/02/21   PageID.631 Page 2 of 4




 1   Under that Rule, the Court may release or detain a defendant pursuant to 18 U.S.C.

 2   § 3143(a) pending further proceedings. Fed. R. Crim. P. 32.1(a)(6). Defendant

 3   bears the burden of establishing by clear and convincing evidence that Defendant

 4   is not a risk of flight or a danger to any other person or the community. Id.; see

 5   also 18 U.S.C. § 3143(a).

 6         The Court has considered the allegations in the Supervised Release

 7   Violation Petition and the proffers of the parties. The United States alleges

 8   Defendant violated his release conditions by 1) committing a new Federal crime,

 9   conspiracy to distribute 50 grams or more of methamphetamine, for which

10   Defendant has been indicted, Case No. 2:21-cr-00147-TOR-1, and 2) by

11   possessing methamphetamine. The United States proffers that evidence, including

12   surveillance footage, connects Defendant to a “stash house” at which a raid was

13   conducted and 4.75 pounds of methamphetamine and multiple firearms were

14   discovered, including pistols and rifles. The Court has concerns about danger to

15   the community when firearms are present in connection with controlled substances.

16         The Court also has serious concerns because Defendant was a participant in

17   the Sobriety, Treatment, and Education Program (STEP) when the new criminal

18   charge arose. STEP participants are subject to intense supervision and the

19   allegation of new criminal conduct while on such intense supervision leaves the

20



     ORDER DENYING MOTION TO REOPEN DETENTION HEARING - 2
      Case 2:11-cr-02131-EFS     ECF No. 180    filed 12/02/21   PageID.632 Page 3 of 4




 1   Court with no confidence that conditions of release will be an effective tool to

 2   prevent similar future conduct.

 3         Defendant seeks release to inpatient treatment rather than release to the

 4   community. However, the Court finds that inpatient treatment is an insufficient

 5   condition to address the danger to the community. The Court notes that at the time

 6   of the alleged offense and while in STEP, Defendant was subject to drug testing

 7   twice a week and tested negative during the majority of those tests. Thus, the

 8   Court does not find cause to attribute the concern about dangerousness to drug use.

 9         The Court concludes Defendant has not met Defendant’s burden of

10   establishing by clear and convincing evidence that Defendant is not a flight risk or

11   danger to the community and, accordingly, denies Defendant’s request for release

12   pending the revocation hearing.

13         A revocation hearing was previously set before Judge Edward F. Shea in

14   Spokane, Washington, on Wednesday, March 09, 2022 at 1:15 PM.

15         IT IS ORDERED:

16         1.     Defendant’s Motion for Reconsideration, ECF No. 173, which the

17   Court construes as Motion to Reopen Detention, is DENIED.

18         2.     Defendant shall be committed to the custody of the Attorney General

19   pending disposition of this case or until further order of the Court. Defendant shall

20   be afforded reasonable opportunity for private consultation with counsel. On order



     ORDER DENYING MOTION TO REOPEN DETENTION HEARING - 3
      Case 2:11-cr-02131-EFS      ECF No. 180     filed 12/02/21   PageID.633 Page 4 of 4




 1   of a court of the United States or on request of an attorney for the United States,

 2   the person in charge of the corrections facility in which Defendant is confined shall

 3   deliver Defendant to a United States Marshal for the purpose of an appearance in

 4   connection with a court proceeding.

 5         3.      If a party desires this Court to reconsider conditions of release

 6   because of material and newly discovered circumstances under 18 U.S.C.

 7   § 3142(f), that party shall file a motion with the Court, served upon the United

 8   States Attorney, stating what circumstances are new, how they are established, and

 9   the requested change in conditions of release.

10         4.      If Defendant seeks review of this Order pursuant to 18 U.S.C.

11   § 3145(b), counsel shall adhere to the Detention Order Review Protocol found in

12   LCrR 46(k).

13         DATED December 2, 2021.

14                                 s/Mary K. Dimke
                                   MARY K. DIMKE
15                        UNITED STATES MAGISTRATE JUDGE

16

17

18

19

20



     ORDER DENYING MOTION TO REOPEN DETENTION HEARING - 4
